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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

 v.                                                              No. 1:21-cr-618-ABJ

 RILEY JUNE WILLIAMS,
      Defendant.


                  UNOPPOSED MOTION TO DISMISS COUNTS 2 AND 4
                    OF THE INDICTMENT WITHOUT PREJUDICE

       The United States of America moves to dismiss counts 2 and 4 of the Indictment (ECF

Nos. 27, 90-1) without prejudice, pursuant to Federal Rule of Criminal Procedure 48(a).

       Rule 48(a) provides “[t]he government may, with leave of court, dismiss an indictment.”

Fed.R.Crim.P. 48(a). “The discretion of whether to dismiss an indictment, and whether to dismiss

it with or without prejudice, lies in the first instance with the prosecutor.” United States v. Florian,

765 F. Supp.2d 32, 34 (D.D.C. 2011). Absent evidence that the government is seeking to dismiss

an indictment in bad faith or for reasons clearly contrary to the public interest, a motion for leave

to dismiss should be granted. See Rinaldi v. United States, 434 U.S. 22, 29–30, 98 S.Ct. 81, 54

L.Ed.2d 207 (1977). Moreover, under Rule 48, “there is a strong presumption in favor of a

dismissal without prejudice over one with prejudice.” Florian, 765 F. Supp.2d at 34. Only under

“exceptional circumstances” should a court deny the government's request for dismissal without

prejudice. Id.

       On November 21, 2022, following a 7-day trial, a jury returned a unanimous guilty verdict

against defendant Riley June Williams on counts 1, 3, 5, 6, 7, and 8. As to counts 2 and 4, the jury

indicated it was deadlocked and could not reach a unanimous verdict of either conviction or

acquittal. The decision to retry deadlocked counts is at the discretion of the prosecutor. Here, in

the interest of party and judicial economy, and recognizing the defendant likely faces a substantial
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sentence on the six counts of conviction already, the government requests leave to dismiss counts

2 and 4 of the Indictment without prejudice, pursuant to Federal Rule of Criminal Procedure 48(a).

This decision should allow the parties and court to move forward with defendant’s sentencing as

scheduled on February 22, 2023, and to achieve justice for the defendant’s conduct without delay.

       The defendant’s counsel concurs with the government’s motion.



Dated December 5, 2022.


                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY
                                             D.C. Bar No. 481 052


                                             /s/ Michael M. Gordon
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                              CERTIFICATE OF SERVICE


       On this 5th day of December 2022, a copy of the foregoing Unopposed Motion to Dismiss

Counts 2 and 4 of the Indictment without prejudice was served upon all parties listed on the

Electronic Case Filing (ECF) System.




                                   By:    /s/ Samuel S. Dalke______
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